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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

   ERAN INDUSTRIES LIMITED, a Belize
   entity,
               Plaintiff,
           vs.
                                                                      COMPLAINT
   ERAN FINANCIAL SERVICES, LLC;
   SHAI LEVITIN; ERAN GROUP CORP.,
   ERAN LOGISTICAL SERVICES, LLC; and
   ERAN NEW PRODUCT DEVELOPMENT,
   LLC,

                   Defendants.


          Plaintiff Eran Industries Limited (“EI Belize” or “Plaintiff”) brings this action against Eran

  Financial Services, LLC (“EFS”), Shai Levitin, Eran Group Corp. (“Eran Group”), Eran New

  Product Development, LLC (“Eran NPD”), and Eran Logistical Services, LLC (“Eran Logistical,”

  and collectively “Defendants”) for fraud, breach of contract and an account stated, and alleges as

  follows:

                                    NATURE OF THE ACTION

          This is an action for fraud, breach of contract and an account stated under the laws of the

  State of Florida. Plaintiff seeks an accounting, compensatory and punitive damages, recovery of

  its costs and attorneys’ fees, and such other relief as the Court deems just and appropriate.

                                   JURISDICTION AND VENUE

          This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)(2) because this

  action is between citizens of a foreign state and a citizen of this state, with an amount in

  controversy in excess of $75,000, exclusive of interest and costs. The Court also has pendent

  jurisdiction of the state law claims because the conduct giving rise to those claims largely occurred

  in the State of Florida.
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                                            THE PARTIES

         Plaintiff is a Belize entity that also does business in China. EFS is a Florida limited liability

  company, and Shai Levin is its principal and chief executive officer. Upon information and belief,

  the remaining Defendants are Florida limited liability companies.

                                             THE FACTS

         1.      For over 20 years, Plaintiff worked closely and in good faith with EFS as virtual

  partners, pursuant to oral agreements to acquire lighting products from manufacturing companies

  in China for EFS to market and sell in the United States. Eran Industries Ltd. (“EI Hong Kong”)

  was formerly a Hong Kong entity who conducted business with EFS. EI Hong Kong was

  deregistered as a legal entity on May 30, 2014. Plaintiff was formed on or about August 9, 2012,

  succeeded to much of EI Hong Kong business, and continued EI Hong Kong’s former relationship

  with EFS by supplying and sourcing products for the last seven (7) years. The products are

  primarily LED lighting products sold to big box retailers and other dealers and distributors.

         2.      EI Belize operations in China are primarily conducted though Ningbo Morelux

  Import & Export, Limited (“Morelux IE”), a Chinese trading company. Morelux IE processes EI

  Belize orders and accounts and handles the shipment, customs clearance, and export of Chinese

  manufactured products for EI Belize.

         3.      Neither EI Hong Kong, Morelux IE, nor Plaintiff have had a written contract with

  EFS for the manufacture, marketing or sale of products; all agreements have been oral, other than

  invoices and purchase orders (“POs”).

         4.      EFS relies on an alleged Supply and Services Agreement, attached hereto as

  “Exhibit A.” Exhibit A is a fabricated document that was never executed by EI Hong Kong nor

  Plaintiff, and no draft of Exhibit A was ever signed or effectuated by Mr. Ye, former principal of

  EI Hong Kong and principal of EI Belize, whose name appears on the signature line for EI Hong
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  Kong. On information and belief, Exhibit A was created by the Third-Party Defendant Shai

  Levitin and EFS by forging Mr. Ye’s signature for the purpose of defrauding Plaintiff and third

  parties lenders to EFS.

         5.      At all relevant times, employees of EFS worked physically with Plaintiff and

  Morelux EI coordinating the manufacture, marketing and sales of products, which often included

  direct shipments by Plaintiff to US customers of EFS.

         6.      EFS's profits were based on a percentage reduction from the customer POs and

  were delineated in writing to EFS in invoices. The percentage profits varied based on the customer,

  type of products, volume, warehousing, shipping, and other costs, and ranged from six percent

  (6%) to twenty five percent (25%). Generally, the more profitable the transaction, the greater the

  discount.

         7.      In addition to sourcing and supplying products for customers in the United States,

  Plaintiff has also shared its profits with Shai Levitin since 2009 (formerly shared by EI Hong

  Kong). These payments were made monthly, and the total annual amounts ranged from $1.5

  million to $2.0 million in recent years.

         8.      As directed by Shai Levitin, these profit payments from Plaintiff were made not to

  EFS, but rather to Eran Logistical, Shai Levitin’s wife, Shai Levitin’s mother, a company called

  Kent Farrington LLC, a Hong Kong-based company owned by Shai Levitin called Dan Holdings

  Limited, and Shai Levitin’s Chinese bank account.

         9.      Customers would also be invoiced for certain dies, molds and other machinery

  (“Tooling”) as needed to customize customer products, or is some instances the Tooling costs

  would be built into the pricing. The customers would generally own the Tooling that they paid

  for, not EFS nor the Third-Party Defendant.


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         10.      Starting in late 2018, EFS began to fall behind on its payments owed to Plaintiff.

  EFS’s accounts payable (“A/P”) was a financial crisis for and was significantly harming Plaintiff.

  By the end of April 2021, the unpaid invoices totaled $18,316,115.27 USD. The open invoices are

  listed in the spreadsheet as “Exhibit B.”

         11.      Given the twenty-year history of their principals working together, Plaintiff not

  only gave EFS additional time to bring its payment obligations current, but also at Shai Levitin’s


  request, loaned Eran Logistical $6,668,050 from December 2019 to April 2021, based on the

  assurances of repayment by Shai Levitin and new lender financing. Eran Logistical has failed to

  repay any of the $6,668,050 demand loan it was given by Plaintiff.

         12.      No reasonable resolution of the huge debt was proposed by EFS nor Eran Logistical.

  In addition, Shai Levitin found a second source to compete with Plaintiff for supplying products

  to EFS, so Plaintiff decided to cease partnering with EFS. In order not to disrupt the customer

  supply chain, it was agreed between Plaintiff and Shai Levitin that any shipment for EFS after

  April 2021 would no longer be due Net 30 days of the Bill of Lading, but rather it would be Net 7

  days of Telex Bill of Lading.

         13.      As no reasonable satisfaction of the debt was even proposed by EFS nor Eran

  Logistical, in May 2021, Plaintiff ceased sharing its profits with Shai Levitin.

         14.      Plaintiff then sought an amicable separation from EFS by proposing to divide up

  the US customer base, asking EFS to conduct an audit of the A/P it owed Plaintiff, and propose a

  payment plan.    However, no agreement was reached.

         15.      In late April 2021, the parties discussed the separation further, but with no

  agreement to resolve its large accounts receivable balance, Plaintiff ultimately decided to cease

  doing business with EFS.

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          16.     On July 30, 2021, Dan Levitin purportedly for a company called the Eran Group

  sent a letter to Plaintiff alleging that pursuant to a written agreement made in 2011 between EI

  Hong Kong and EFS, EFS was being overcharged, and wanted to review Plaintiff’s books.

  Plaintiff asked that it be sent a copy of the Agreement, but Plaintiff never executed a written

  agreement.

          17.     Plaintiff learned that EFS filed an action before this Court on August 9, 2021,

  docket number 9:21-cv-81386, falsely alleging breach of contract claims based upon the alleged

  2011 contract, and unfair competition. The action was administratively dismissed on November

  17, 2021. The alleged signature on Exhibit A to the Complaint is the proper name of a principal of

  Plaintiff, but it is not his signature.

          18.     The pricing between Plaintiff and EFS has always been transparent, as the pricing

  detail is documented as percentage discounts on the invoices. EFS's representatives and Shai

  Levitin worked directly with Plaintiff and its affiliates and were fully aware of the pricing to EFS,

  which was never based on the alleged formula set out in the fictitious 2011 Supply and Services

  Agreement.

          19.     On information and belief, all of the products sold and shipped to EFS and/or

  directly to the customers of EFS as requested were sold at full PO prices, and EFS collected these

  monies, but failed to remit over $18,316,115.27 due to Plaintiff.

          20.     Further, EFS created fraudulent allegations, which on information and belief, were

  to defraud both Plaintiff and others for its financial gain.

                                             COUNT ONE

                      Breach of Contract Against Eran Financial Services, LLC

          21.     Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1-

  20 as if fully set forth and incorporated herein.
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          22.    EFS failed to remit substantial payments on Plaintiff invoices despite the fact that

  EFS resold the products sourced and sold to it by Plaintiff pursuant to written invoices. Plaintiff

  gave EFS substantial additional time and offered terms to EFS to bring its payment obligations

  current, but EFS failed to do so.

          23.    From 2018 to 2021, in breach of its verbal agreements, purchase orders and

  invoices, EFS failed to make full payments to Plaintiff on its POs and invoices. EFS owes Plaintiff

  in excess of $18,316,115.27 on its purchase agreements.

          24.    Because of EFS’s breach of its oral contracts and written POs and invoices with

  Plaintiff for goods delivered and sold, Plaintiff has suffered damages in excess of $18,316,115.27,

  plus lost sales, profits, and interest in an amount, according to its proofs at trial, which Plaintiff

  estimates to be in excess of $20 million.

                                              COUNT TWO

                       Account Stated Against Eran Financial Services, LLC

          25.     Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1

  – 24 as if fully set forth and incorporated herein.

          26.    For over seven (7) years, Plaintiff has sold its products to EFS pursuant to an open

  book account. As of April 2021, Defendant owed Plaintiff a total balance of $18,316,115.27.

          27.    EFS’s stated account or agreed to a total amount due to Plaintiff of $18,316,115.27.

          28.    EFS has never disputed the open invoices nor made additional payments toward

  them. As a direct result, Plaintiff incurred damages in excess of $18,316,115.27. Plaintiff has

  demanded that EFS pay the amount stated. EFS failed and refused to make any payments to

  Plaintiff.

          29.    For the foregoing reasons, Plaintiff suffered damages resulting EFS’s failure to pay

  the account stated in the amount of $18,316,115.27, plus interest and late fees.
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                                                COUNT THREE

                    Breach of Contract Against Eran Logistical Services, LLC

          30.    Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1-

  29 as if fully set forth and incorporated herein.

          31.    Plaintiff has demanded repayment of all its loans to Eran Logistical.              Eran

  Logistical has not contested the nature or the amount of the loans.

          32.    Third Party Defendant Eran Logistical failed to repay any of the loans that total

  $6,668,050 and are currently due to Plaintiff.

                                             COUNT FOUR

          Fraud against Eran Financial Services, LLC, Eran Logistical Services, LLC
                             Eran Group Corp. and Shai Levitin

          33.     Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1-

  32 as if fully set forth and incorporated herein.

          34.    EFS falsely represented to Plaintiff it was getting private and bank financing and

  that proceeds from such financing would be used to pay down its enormous debt to Plaintiff.

          35.    On information and belief, EFS received millions of dollars of financing and

  additional sales it concealed from Plaintiff, and failed to use any of it to repay Plaintiff the debt it

  owes.

          36.    On information and belief, Shai Levitin has wrongfully diverted millions of dollars

  of assets from EFS to his other companies and related entities to shield it from the liabilities that

  it and Eran Logistical owe EFS.

          37.     Shai Levitin and EFS concocted the false narrative of a 2011 Supply and Services

  Agreement that they fraudulently created by forging EI Hong Kong’s former principal’s signature,




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  and used this fictitious document to attempt to defraud Plaintiff with its meritless Complaint and

  false allegations as to product pricing.

           38.    On information and belief, Eran Group and Eran Logistical through their principal

  Dan Levitin participated in this fraud.

           39.    On information and belief, Eran Logistical, Eran NPD and Eran Group are shell

  companies of Shai Levitin and EFS, and on information and belief, the profit payments from

  Plaintiff that were directed to be sent to Eran Logistical, Shai Levitin’s wife, mother, a company

  called Dan Holdings Limited, owned by Shai Levitin, and a company called Kent Farrington LLC

  should have been paid or transferred to EFS to keep it solvent and assist it in repaying its debt

  obligations to Plaintiff.

           WHEREFORE, Plaintiff and Third-Party Plaintiff requests that this Court enter judgment

  in its favor as follows:

           a.     On its breach of contract and account stated claims against Eran Financial Services,

  LLC the amount of $18,316,115.27, plus lost sales and profits to be determined by the proofs at

  trial;

           b.     On its default of loans claims against Eran Logistical Services, LLC the amount of

  $6,668,050;

           c.     On its Fraud claims against EFS and Third-Party Defendants actual damages and

  punitive damages to be determined by proofs at trial;

           d.     As against EFS and Third-Party Defendants pre-judgment interest, costs and

  expenses, including reasonable attorneys’ fees, and such other and further relief as the Court deems

  just and proper;

           e.     As against EFS and Third-Party Defendants enjoining them, their employees,

  successors, affiliates, assigns, accountants, auditors, and entities owned or controlled by EFS, Shai
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  Levitin, or Dan Levitin and all those in active concert and/or participation with them from

  disposing of, destroying, altering, removing, concealing tampering with or in any manner secreting

  any business records of any kind or format (including all computer and electronic documents on

  any computers, electronic devices or storage mediums), and including, but not limited to the

  original of Exhibit A to the Complaint and any alleged drafts of same, all correspondence with

  Plaintiff or any Defendant or their principals, all invoices, purchase orders, accounts, loans,

  receipts, account ledgers, financial statements, audits, bank or private lender applications and

  communications, and all purchases, sales, offer for sale, or distributions of or pertaining to any

  Plaintiff-supplied products and any other communications between any of the parties to this

  litigation.


                                                      SILLS CUMMIS & GROSS P.C.
                                                      Attorneys for Plaintiff Eran
                                                      Industries Limited
                                                      101 Park Avenue, 28th Floor
                                                      New York, New York 10178
                                                      (212) 643-7000

                                                      By:/s/ Matthew P. Canini
                                                         MATTHEW P. CANINI
                                                         (Bar No. 0098306)
                                                         mcanini@sillscummis.com

                                                          TRENT S. DICKEY
                                                          tdickey@sillscummis.com
                                                          (Pro Hac Vice Application Forthcoming)


  Dated: December 20, 2021




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                                     SUPPLY AND SERVICES AGREEMENT

                      This Supply and Services Agreement (the “Agreement”) made as of
                                                                                          the 26th day
     of July, 201 1, by and between Eran Industries Ltd, a Hong Kong limited
                                                                             liability corporation
     having an address 1 7th/f Guangbo Mansion 1357 Yinxian Avenue Ningbo, China 315100
                                                                                        (the
     "Manufacturer”), and Eran Financial Services LLC, a Florida limited
                                                                           liability company having
     its principal place of business c/o Esposito, Fuchs, Taormina & Compan
                                                                             y, Accountants and
     Business Consultants, 267 Carleton Avenue, Suite 202, Central Islip, New
                                                                                York 1 1722, Attn:
     Shai Levitin (the “Purchaser”).
                                               WITNESSETH:

                   WHEREAS, Manufacturer is in the business of manufacturing, producin
                                                                                          g,
    sourcing, purchasing, selling and distributing merchandise and products
                                                                            (“Products”); and

                          WHEREAS, Purchaser is engaged in the distribution and sale of Products
                                                                                                 ; and

                          WHEREAS, the parties are desirous of documenting their respective rights
                                                                                                   and
    obligations;

                          NOW, THEREFORE, in consideration of the premises and the mutual
                                                                                          covenants
   and obligations of the parties contained herein, and for other good and
                                                                           valuable consideration,
   receipt of which is hereby acknowledged, it is agreed as follows:


                          1.    Term.

                    1.1    The term of this Agreement shall commence as of the date hereof and,
   unless earlier terminated as provided herein, shall continue until Decemb
                                                                             er 31, 2021 (the
   “Term”).


                  1 .2   Notwithstanding the foregoing, this Agreement shall terminate upon
                                                                                              the
   occurrence of the dissolution, liquidation or other manner of termination
                                                                             of either party.

                   1 .3    Notwithstanding the foregoing, either party may terminate this Ageeme
                                                                                                    nt
  on account of a material breach by the other party of its obligations
                                                                         hereunder by giving such
  other party at least thirty (30) days written notice which describes the
                                                                           reason for the termination.
  This Agreement terminates unless the party receiving notice cures the
                                                                           breach within the notice
  period. Circumstances supporting termination for cause include, without
                                                                               limitation,
  Manufacturer's failure to meet Product quality standards, production schedule
                                                                                s or delivery dates
  set forth in the Purchase Orders.


                         1 .4
                           Purchaser may terminate this Agreement if the Manufacturer is unable
                                                                                                   to
  resume a significant portion of its operations within one hundred twenty (120)
                                                                                    days of any of the
  following: fire, flood or other act of God, civil unrest, enemy action, epidemic
                                                                                   , explosion,
  insurrection, riot, war, or government actions (each, a “Force Majeure
                                                                             Event”).

                1.5     At termination (but excluding termination resulting from Manufacturer’s
  uncured breach), both parties shall be obligated to comply with all purchase
                                                                               orders then in effect

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                                                                                           Exhibit A
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   and shipment terms will be as provided under this Agreement. If termination results from
   Manufacturer's uncured breach, Manufacturer shall, at Purchaser's option, sell and deliver these
   items to Purchaser on the terms described above.

                      2.   Orders

                  2.1     General. Provided that Purchaser is not in uncured breach of its
  obligations hereunder, Manufacturer shall manufacture and supply to Purchaser all Products
  ordered by Purchaser. Upon receiving an order from the Purchaser the Manufacturer shall
  promptly notify the Purchaser in writing whether it is accepting or rejecting an order; provided
  however the Manufacturer must accept an order unless the Purchaser is in an uncured breach of
  its obligations hereunder; if the Purchaser does not receive a written notice indicating that the
  Manufacturer is rejecting an order within 10 days of its receipt of the order, Manufacturer shall
  be deemed to have accepted such order. Upon accepting an order for Products, Manufacturer
  shall produce such Products in accordance with such order (including quantity, delivery location
  and, if specified, delivery dates) and with the design and specifications applicable to such
  Products in a first quality workmanlike manner and in compliance with all applicable
  governmental regulations, and deliver same together with all appropriate packaging in a timely
  manner.

                 2.2     Direct Sales to Other Customers. The Manufacturer is authorized to sell
    Products to other customers but only for cash or with the prior written consent of the Purchaser.

        3.Pricing. All Products to be sold to Purchaser by Manufacturer shall be
  sold for one hundred and ten percent (110%) of the Manufacturer's total costs, unless otherwise
  agreed in writing.

                        4.Payment. Purchaser shall pay Manufacturer for all Products sold and
  shipped to Purchaser and/or sold and shipped to others on the Purchaser's behalf (including,
  without limitation, to subsidiaries of the Purchaser), within sixty (60) days after Purchaser has
  received a copy of the original bill of lading, packing slip and invoice (collectively, an
  "Invoice") for such Products or the Purchaser and/or its designee has received delivery of such
  Products, whichever is later.
                 5.       Delivery; Assurances; Force Majeure.

                  5.1      Delivery. Time is of the essence with respect to Manufacturer's
  obligations hereunder. Unless otherwise agreed to in writing by Purchaser, Products shall be
  FOB destination unless parties agree otherwise. Manufacturer shall be responsible for arranging
  and paying for all freight to Purchaser's place of business. Manufacturer shall strictly comply
  with delivery instructions (including the specified quantities and strict adherence to delivery
  schedule) contained in purchase orders. Manufacturer shall notify Purchaser promptly orally and
  thereafter in writing if it is unable to fulfill the terms of any such delivery. Such notification
  shall not relieve Manufacturer of any of its obligations, nor limit Purchaser's remedies with
  respect to Manufacturer's breach.

                 5.2     Assurances. If Purchaser reasonably determines at any time that
  Manufacturer's performance of its obligations in full compliance with this Agreement or any
  purchase order is in doubt, then Purchaser may require Manufacturer to provide it with written
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    assurance stating that Manufacturer is able to perform all of its obligations under this Agreement
    and/or any purchase order. Such written assurance of performance shall be delivered by
    Manufacturer to no later than fifteen (15) days following Purchaser’s request, and shall be
    accompanied by such written reports or other materials as Purchaser may reasonably request. If
    Manufacturer does not provide such written assurance of performance to Purchaser within fifteen
    (15) days following Purchaser’s request, Purchaser may suspend all or any part of Purchaser’s
   performance hereunder until Purchaser receives Manufacturer’s written assurance of
   performance


                  5.3     Force Majeure. Subject to Section 1.4, Manufacturer’s delay of delivery
   will be excused if Manufacturer provides written notice of any Force Majeure Event within three
   (3) business days of the occurrence of such Force Majeure Event, provided that the Manufacturer
   uses its reasonable best efforts to remove or overcome the effects of such occurrence at the
   earliest possible time. Manufacturer agrees to promptly give Purchaser a revised delivery
   schedule. If Manufacturer’s production is only partially restricted or delayed, Manufacturer shall
   accommodate Purchaser’s requirements by giving preference to Purchaser’s orders. During the
   effectiveness of a Force Majeure Event, Purchaser may cancel or modify in whole or part any
   affected orders and elect to use other manufacturers, without any obligation or liability to the
   Manufacturer, by delivering written notice to Manufacturer during the effectiveness of such
   Force Majeure.


                       6.     Risk of Loss; Insurance.

                       6. 1
                         Risk of Loss. Manufacturer shall bear the risk of loss of all Products sold
   hereunder until Purchaser and/or its designee has received delivery of such Products. Title and
  risk of loss or damage to Products shall pass to Purchaser at the time Purchaser and/or its
  designee has received delivery of such Products.


                  6.2      Insurance. Manufacturer agrees to obtain and maintain in full force and
  effect, a policy or policies of comprehensive general liability insurance, covering all of the
  Manufacturer's operations, insuring Manufacturer against liability for injury or damage to
  persons in amounts customary for the manufacturing industry. Such insurance shall be placed
  with companies reasonably acceptable to Purchaser, and shall name Purchaser as an additional
  insured party on each such policy and shall include a provision which provides for thirty (30)
  days notice of cancellation or termination. Manufacturer shall not cancel or reduce the limits or
  coverages of such insurance policies without the prior written consent of Purchaser or do or omit
  to do any act that may cause such insurance to be cancelled or reduced. Any circumstance that
  may give rise to a claim shall be reported to Purchaser not later than five (5) business days after
  such circumstance has come to the attention of Manufacturer].


                       7.     Inspection and Examination Rights; Manufacturer’s Additional
  Responsibilities.


                7.1    Manufacturer's right to inspect Purchaser’s Books. To verify and insure
  Purchaser's compliance with the terms of this Agreement, including, without limitation, the fees
  payable pursuant to Section 9.2, Purchaser shall permit Manufacturer to inspect, upon reasonable
  notice and at reasonable times during normal business hours, Purchaser’s books and records.


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                        7.2    Purchaser’s right to inspect Manufacturer’s Books. To verify and insure
    Manufacturer’s compliance with the terms of this Agreement, including, without limitation, the
   pricing of Products, Manufacturer shall permit Purchaser to inspect, upon reasonable notice and
   at reasonable times during normal business hours, Manufacturer’s books and records.


                       7.3Purchaser's right to inspect Manufacturer’s Facilities. To verify and
   insure Manufacturer’s compliance with the terms of this Agreement, the Purchaser shall have the
   right to inspect Manufacturer’s manufacturing facilities during mutually agreed upon times to
   ensure that Manufacturer’s manufacture of the Products is in compliance with applicable
   regulation and specifications. The right to inspect granted to Purchaser shall not be deemed as
   granting to Purchaser access to any trade secrets owned by Manufacturer.


                       8.     Restrictions on the Manufacturer’s Activities.

                 8.1     Non-Competition. The Manufacturer agrees that it shall not, whether or
   not for compensation, directly or indirectly, individually or as an officer, director, shareholder,
   trustee, employee, consultant, advisor, partner, proprietor or otherwise, for a period commencing
   on the date hereof and ending 24 months after the end of the Term (the “Restricted Period”),
   without the prior written approval of the Purchaser (which approval may be withheld or delayed
  for any reason or for no reason) (1 ) other than pursuant to Section 2 (i) participate or engage in
  the soliciting, or endeavoring to entice away, or sell any Products to, any person or entity who
  was a customer or client of the Purchaser at any time during the previous twelve months, or
  encouraging any such person or entity to use any Products which compete with the Purchaser’s
  products; or (ii) assist any person or entity in any way to do, or attempt to do, anything
  prohibited by clause (i) above or (2) other than as permitted by Section 2, interfere with or harm
  the contractual or business relationships with any person or entity who was a vendor, supplier,
  customer, client, licensor, licensee or independent contractor of the Purchaser at any time during
  the previous twelve months or (3) sell (other than pursuant to Section 2) any Products.
  Additionally, the parties hereto may, from time to time, by separate agreement in writing, permit
  the sale to certain specific customers.


                       8.2    Breach; Injunctive Relief. If the Manufacturer commits a breach, or
  threatens to commit a breach, of any of the provisions of Section 8.1, the Purchaser shall have
  the following rights and remedies, each of which shall be independent of the others and shall be
  severally enforceable, and all of such rights and remedies shall be in addition to, and not in lieu
  of, any other rights and remedies available to the Purchaser under law or in equity:


                 (a)     Specific Performance. The right and remedy to have such provisions of
  this Section 8 specifically enforced by any court having equity jurisdiction, it being
  acknowledged and agreed that any such breach or threatened breach will cause irreparable injury
  to the Purchaser and that money damages will not provide an adequate remedy at law; and in
  connection therewith the right to obtain, without notice to the Manufacturer and without the need
  to post any bond, a temporary restraining order, an injunction and any other equitable relief.
  Such right of injunctive relief shall be cumulative and in addition to whatever other remedies the
  Purchaser may have at law or in equity, including the right of the Purchaser to recover from the
  Manufacturer as set forth in subparagraph (b) below; and




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                   (b)     Accounting. The right and remedy to require the Manufacturer to account
   for and pay over to the Purchaser all compensation, profits, monies, accruals, increments or other
   benefits (collectively “Benefits”) derived or received by it as the result of any transactions
   constituting a breach of any of the provisions of Section 8.1, and the Manufacturer hereby agrees
   to account for and pay over such Benefits to the Purchaser.


                  8.3     Trade Secrets; Confidentiality. The Manufacturer recognizes and
   acknowledges that in connection with its providing Products to the Purchaser, it has had and will
   continue to have access to valuable trade secrets and confidential information of the Purchaser,
   including but not limited to customers lists; business methods and processes; marketing,
   promotion, sourcing, pricing, and financial information; and data and information relating to
   employees and consultants (collectively “Confidential Information”). Manufacturer agrees that
   during the Restricted Period, it, and its members, managers, officers, employees, agents,
   representatives and advisors shall not disclose any of such Confidential Information to any
   person or firm, except that disclosure of Confidential Information will be permitted (i) if such
   Confidential Information has previously become available to the public through no fault of the
   Manufacturer; (ii) if required by any court or governmental agency or body or as otherwise
   required by law; (iii) if necessary to establish or assert the rights of the Manufacturer hereunder
   against the Purchaser; or (iv) if expressly consented to by the Purchaser.


                       8.4   Severability and Construction.


                 (a)     The provisions of this Section 8 are severable, and if any provision or any
  part of any provision of this Section 8 is found to be invalid or unenforceable, the balance of that
  provision and the other provisions hereof shall be given full force and effect and remain fully
  valid and enforceable.

                  (b)      If any covenant, or any part of a covenant, contained in this Section 8 is
  held to be unenforceable because of the duration of such provision or the area covered thereby,
  the parties agree that the court making such determination shall have the power to reduce the
  duration and/or area of such provision and, in its reduced form, said provision shall then be
  enforceable.


                (c)     The parties hereto intend to and hereby confer jurisdiction to enforce the
  covenants contained in this Section 8 upon the courts of any state within the geographical scope
  of such covenants. In the event that the courts of any one or more of such states shall hold such
  covenants wholly unenforceable by reason of the breadth of such scope or otherwise, it is the
  intention of the parties hereto that such determination not bar or in any way affect in the courts of
  any other states within the geographical scope of such covenants the Purchaser’s right to the
  relief for breaches of such covenants in such other states, the above covenants as they relate to
  each state being, for this purpose, severable into diverse and independent covenants.


                       8.5
                       Manufacturer agrees that any violation of Purchaser's rights under this
  Agreement, including, without limitation, to purchase Products from Manufacturer, and to sell
  and distribute Products, as set forth herein, will cause irreparable harm to Purchaser for which
  there is no adequate remedy at law and, in addition to any other right or remedy under applicable
  law, Purchaser shall be entitled to: (i) an injunction, including, without limitation, as applicable,


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   a mandatory injunction, without the posting of any bond, undertaking or security, enjoining or
   restraining Manufacturer from any violation or threatened violation of this Agreement, and
   Manufacturer hereby consents to the issuance of any such injunction; and (ii) an accounting and
   payment of all benefits, including, without limitation, all monies or other compensation received
   by Manufacturer in violation of this section; and (iii) nothing contained herein shall restrict or
   prevent Purchaser from seeking monetary damages for any such violation, including, without
   limitation, reimbursement for its attorneys’ fees and other related costs which Manufacturer
   agrees would constitute a component of Purchaser’s damages.


                         9.    Services.


                  9.1     Purchaser hereby engages the Manufacturer and the Manufacturer accepts
   the engagement to provide all such back-office services, including all administrative and support
   services such as settlements, clearances, record maintenance, inventory and accounting, to the
   Purchaser from Manufacturer’s facilities in China as Purchaser shall request from time to time
   during the Term; Purchaser shall not pay any additional amount to Manufacturer for such
   services as the amount to be paid for the supplies pursuant to Section 3 reflects the
   Manufacturer’s provision of these services.


                        10.    Representations and Warranties.

                        10.1   Manufacturer represents and warrants:


                 (a)      It is duly organized and existing and in good standing under the laws of
  Hong Kong and has all requisite power and authority, limited liability company or otherwise, to
  conduct its business, to own its property, and to execute, deliver and perform all of its
  obligations under this Agreement;


                 (b)    The execution and delivery of this Agreement by Manufacturer has been
  duly authorized by limited liability company proceedings and upon its execution and delivery
  shall constitute the legal, valid and binding obligation of Manufacturer, enforceable in
  accordance with its terms except as such enforceability may be limited by bankruptcy,
  insolvency, reorganization, fraudulent conveyance, moratorium and similar laws affecting the
  validity or enforcement of creditors’ rights generally.


                        (c)The execution, delivery and performance of this Agreement by
  Manufacturer and the consummation by Manufacturer of the transactions contemplated herein
  and compliance by Manufacturer with the provisions hereof shall not violate any existing law,
  rule, regulation, order, writ, judgment, injunction, decree or award binding on Manufacturer or
  its articles of organization or the provisions of any instrument or agreement to which
  Manufacturer is a party or is subject, or by which it, or its property, is bound or conflict with or
  constitute a default thereunder; and the execution, delivery and performance of this Agreement
  and the consummation of the transaction contemplated herein and compliance with the
  provisions hereof by Manufacturer shall not require the consent of nor the giving of notice to any
  party (including without limitation Manufacturer’s lender, if any) other than any registration or
  filing with any governmental authority to the extent not previously obtained or made.




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                  (d)      All Products furnished to Purchaser shall at all times: (i) conform to
   Purchaser's specifications; (ii) be new and merchantable; and (iii) will be manufactured in a good
   and workmanlike manner, free from defect in materials and workmanship.


                       10.2   Purchaser represents and warrants:


                       (a)The execution and delivery of this Agreement by Purchaser has been duly
   authorized by proper limited liability company proceedings and this Agreement, upon its
   execution and delivery, shall constitute the legal, valid and binding obligations of Purchaser
   enforceable in accordance with its respective terms except as such enforceability may be limited
   by bankruptcy, insolvency, reorganization, fraudulent conveyance, moratorium and similar laws
   affecting the validity or enforcement of creditors’ rights generally.


                 (b)     The execution, delivery and performance of this Agreement by Purchaser
   and the consummation by Purchaser of the transactions contemplated herein and compliance by
   Purchaser with the provisions hereof shall not violate any existing law, rule, regulation, order,
   writ judgment, injunction, decree or award binding on Purchaser or its articles of organization or
   its operating agreement or the provisions of any instrument or agreement to which Purchaser is a
   party or is subject, or by which it, or its property, is bound or conflict with or constitute a default
   thereunder; and the execution, delivery and performance of this Agreement and the
   consummation of the transaction contemplated herein and compliance with the provisions hereof
   by Purchaser shall not require the consent of nor the giving of notice to any party other than any
   registration or filing with any governmental authority to the extent not previously obtained or
   made.


                       11.    Intellectual Property.

                       11.1Copyrights and Other Intellectual Property. If Manufacturer, its
  employees or agents create copyrightable or trademarkable materials for Purchaser, or if
  Manufacturer or its employees or agents modify the Product drawings or the Products, such
  activities shall only be performed on Purchaser’s behalf and shall constitute works made for hire.
  Manufacturer hereby assigns any rights in such designs, drawings and other materials and
  covenants that it will, at Purchaser’s sole cost and expense, take all actions necessary to secure
  such rights from employees or other agents and to fully and effectively transfer all such rights to
  Purchaser.


                  1 1 .2  Use of Intellectual Property. Manufacturer’s use of any of Purchaser’s
  intellectual property shall be limited to the scope of Manufacturer's activities specified in this
  Agreement. Manufacturer shall not acquire any right, title, or interest in any of Purchaser’s
  intellectual property by virtue of this Agreement or the activities conducted pursuant to this
  Agreement. Manufacturer is strictly prohibited from using Purchaser's trademarks or trade
  names. Purchaser’s use of any of Manufacturer’s intellectual property shall be limited to the
  scope of Purchaser’s activities specified in this Agreement. Purchaser shall not acquire any
  right, title, or interest in any of Manufacturer’s intellectual property by virtue of this Agreement
  or the activities conducted pursuant to this Agreement. Purchaser is strictly prohibited from
  using Manufacturer's trademarks or trade names.




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                   1 1 .3  Return of Intellectual Property. Upon termination of this Agreement, (i)
   Manufacturer shall cease using Purchaser’s intellectual property and shall, at Purchaser’s option,
   return or destroy all copies of any materials containing such intellectual property and (ii)
   Purchaser shall cease using Manufacturer’s intellectual property and shall, at Manufacturer’s
   option, return or destroy all copies of any materials containing such intellectual property.


                        12.    Indemnification.

                        12.1
                        Indemnification by Manufacturer. Manufacturer agrees to protect,
   indemnify, defend and hold harmless Purchaser, its agents, employees, and affiliates (the
   “Purchaser’s Indemnified Parties”), against all liability, loss, claims, suits, demands, damages
   or expenses whatsoever, including without limitation reasonable attorneys’ fees and court costs
   (“Purchaser’s Damages”) arising out of, caused by, or relating to: (A) Manufacturer’s
   misrepresentations or breach of any of its warranties, representations, or covenants contained
   herein; and (B) any negligence or wrongful act of Manufacturer and its agents and
   representatives, (C) Manufacturer’s business and operations, its facilities, taxes, (D) claims
   brought against Manufacturer and (D) all costs and damages associated with a defective Product
   within the warranty period including, without limitation, all costs associated with or arising out
   of the inspection, repair and replacement of defective Products.


                       12.2
                       Indemnification by Purchaser. Purchaser agrees to protect, indemnify,
  defend and hold harmless Manufacturer, its agents, employees, and affiliates (the
  "Manufacturer’s Indemnified Parties”), against all liability, loss, claims, suits, demands,
  damages or expenses whatsoever, including without limitation reasonable attorneys’ fees and
  court costs (“Manufacturer’s Damages”) arising out of, caused by, or relating to:
  (A) Purchaser’s misrepresentations or breach of any of its warranties, representations, or
  covenants contained herein; and (B) any negligence or wrongful act of Purchaser and its agents
  and representatives.


                       13.     Miscellaneous.


                       13.1
                         Governing Law. This Agreement shall be construed in accordance with
  the laws of the State of Florida and. where applicable, the laws of the United States.


                  13.2   Jurisdiction. All claims, disputes and controversies, if any, between
  Manufacturer and Purchaser arising out of or connected with or related to or incidental to the
  relationship established between them in connection with this Agreement, whether arising at law
  or in equity, in contract, tort, equity or otherwise, if pursued in court, shall be resolved only by
  State or Federal courts located in the city of Palm Beach located in the State of Florida.


                       13.3
                         Attorneys’ Fees/Prevailing Party. In the event the parties litigate any
  dispute under this Agreement, the prevailing party shall receive from the non-prevailing party its
  reasonable costs and attorneys’ fees as part of any judgment.


                13.4   Merger. This Agreement, together with its exhibits, contains the entire
  understanding between Manufacturer and Purchaser with respect to its subject matter, and
  supercedes all previous oral or written agreements or understandings between them with respect
  thereto, and shall not be modified except by a writing signed by the party to be charged.

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                       13.5    No Waiver. No waiver by either party of any breach of this Agreement by
   the other shall be deemed to be a waiver of any preceding or subsequent breach thereof. Any
   waiver must be in writing and executed by the waiving party.


                       13.6    Notices. Except as otherwise provided herein, all notices and other
   communications required or desired to be served, given or delivered hereunder shall be made in
   writing or by a telecommunications device capable of creating a written record and shall be
   addressed to the party to be notified (together with a copy as set forth below) at the respective
   addresses set forth above or, as to each party, at such other address as designated by such party in
   accordance herewith. Notice shall be deemed to have been duly given (i) if delivered personally
   or otherwise actually received; or (ii) if sent by an overnight delivery service for delivery on the
   following business day; or (iii) if mailed by first class United States mail, postage prepaid,
   registered or certified with return receipt requested; or (iv) if sent by telecopy, with a copy sent
   by regular mail. Notice sent pursuant to clause (i) shall be deemed given on the date of receipt;
   notice given pursuant to clause (ii) shall be deemed given on the next business day after proper
   posting; notice given pursuant to clause (iii) shall be deemed given three business days after
   actual mailing provided return receipt is acknowledged; and notice given pursuant to clause (iv)
   shall be deemed given on the next business day after being telecopied.

                       13.7    Additional Notice. A copy of all notices shall be sent to Robinson Brog
   Leinwand Greene Genovese & Gluck, P.C., 875 Third Avenue, New York, New York 10022,
  Attn.: A. Mitchell Greene, Esq., Telecopier Number 212-956-2164.


                       13.8    Successors. This Agreement shall be binding upon and inure to the
  benefit of the parties hereto and their respective successors, heirs and assigns.


                       13.9    Non-Assignability. Notwithstanding the foregoing, no party shall be
  permitted to assign this Agreement nor its rights hereunder without the prior written consent of
  the other, which may be given or withheld at the other’s sole discretion. Any attempt to assign
  this Agreement without such consent shall be void.


                       13.10   Independent Contractors. Each party agrees it is and will be an
  independent contractor as to the other party and not an agent, employee, partner or joint venturer
  of or with the other party, except as may have been expressly provided for herein. Without
  limiting the foregoing, neither party nor any officer or employee of such shall have the right to
  bind, to make any representations or warranties on behalf of the other, to accept service of
  process, to receive notice, to perform anything such thing or act on behalf of the other party other
  than as expressly authorized at such other party’s sole discretion, including in this Agreement.

                       13.11   Invalidity. If any provision herein is held to be invalid or unenforceable
  for any reason, the remaining provisions will continue in full force and effect without being
  impaired or invalidated in any way.

                       13.12   Headings. Headings are for reference purposes only, and in no way
  define, limit, construe or describe the scope of extent of such section.

                       13.13   Monetary Exchange. Wherever in this Agreement any reference is made
  to money or dollars, it shall be deemed to be a reference to United States dollars.

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                           13.14   Counterparts. This Agreement may be executed in two or more
      counterparts and by telefacsimile signature, each of which shall be deemed an original and all of
      which, when taken together, constitute one and the same document. The signature of any party
      to any counterpart shall be deemed a signature to, and may be appended to, any other
      counterpart.


                           IN WITNESS WHEREOF, the parties hereto have executed and delivered this
      Agreement as of the date and year above first written.



                                                           Manufacturer:
                                                           Eran Industries LTD




                                                           By:
                                                           Name:
                                                          Title:   G CnO'c \         o o.

                                                          Purchaser:
                                                          Eran Financial Services LLC




                                                          By:
                                                          Name:>'ku;
                                                          Title:




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CUSTOMER NAME           ORDER TYPE      INVOICE NUMBER   BILLING #   TOTAL AMOUNT INVOICE DATE B/L DATE
Philips                 MTO             EIGA18543-3      181004      $24,773.92    2018/10/19   2018/10/16
AZZ                     Finance         EIRI190863F      1910984     $163,997.96   2019/10/15   2019/10/14
Cree                    Finance         EICN191135-1     1910989     $273,229.33   2019/10/23   2019/10/20
Signify(Mountain Top)   Finance         EIGA191088       1911012     $5,688.06     2019/10/29   2019/10/17
Hubbell                 Finance         EIHP190825       1911175     $405.07       2019/12/5    2019/12/5
Cree                    Finance         EICN191353       2010018     $2,360.40     2020/1/3     2020/1/1
EFS                     Credit Note     EI08012020       2010024     -$6,097.12    2020/1/8     2020/1/8
Lumca                   Finance         EILC200270       2010030     $1,054.00     2020/1/14    2020/1/13
Signify(Memphis)        Finance         EIGA191291       2010038     $4,571.54     2020/1/14    2019/12/29
Lumca                   Finance         EILC200263       2010037     $774.03       2020/1/14    2020/1/10
Barron                  Finance         EIBA1901177-2    2010086     $5,439.45     2020/1/15    2020/1/14
Barron                  Finance         EIBA1901230      2010044     $1,349.97     2020/1/15    2020/1/12
Signify(Memphis)        Finance         EIGA200081       2010094     $4,571.54     2020/1/17    2020/1/14
Signify(DC Ontario)     Finance         EIGA191309       2010088     $5,908.78     2020/1/17    2019/12/23
Sternberg               Finance         EISE200005       2010096     $3,184.95     2020/1/17    2020/1/4
Cree                    Finance         EICN200277       2010087     $2,695.86     2020/1/19    2020/1/19
Cree                    Panel Program   EICN200131       2010144     $36,243.37    2020/2/13    2020/1/28
Cree                    Panel Program   EICN200130       2010143     $32,229.30    2020/2/13    2020/1/28
Cree                    Panel Program   EICN200129-1     2010141     $31,801.80    2020/2/13    2020/1/29
Cree                    Panel Program   EICN200129-2     2010142     $39,669.80    2020/2/13    2020/1/29
Cree                    Panel Program   EICN200128-2     2010140     $32,311.81    2020/2/13    2020/1/29
Signify（Box741）         Finance         EILI200262       2010114     $3,444.00     2020/2/17    2020/1/22
Hubbell                 Finance         EIHP200272       2010117     $756.90       2020/2/19    2020/1/15
Maxlite                 Finance         EIMA191131       2010135     $2,525.62     2020/2/19    2020/1/19
Generation              Finance         EIGB200356       2010150     $2,009.00     2020/2/28    2020/2/27
AZZ                     Finance         EIRI200029       2010154     $13,036.42    2020/3/2     2020/3/2
Cree                    Panel Program   EICN200375       2010168     $9,030.04     2020/3/10    2020/3/6
Generation              Finance         EIGB200038       2010171     $6,326.30     2020/3/10    2020/3/6
Signify(Canlyte)        Finance         EIGA200065       2010169     $3,849.72     2020/3/10    2020/2/28
Signify(DC Ontario)     Finance         EIGA200101       2010174     $5,534.94     2020/3/10    2020/3/5
PRUDENTIAL LIGHTING     Finance         EIPL200308       2010170     $328.00       2020/3/10    2020/3/9
Lumca                   Finance         EILC200267       2010173     $1,919.00     2020/3/10    2020/2/26
Generation              Finance         EIGB200069       2010172     $655.20       2020/3/10    2020/3/10
Cree                    Panel Program   EICN200384       2010176     $7,222.42     2020/3/10    2020/3/8
Cree                    Panel Program   EICN200360-1     2010177     $31,801.80    2020/3/10    2020/3/6
Cree                    Panel Program   EICN200360-2     2010178     $32,311.81    2020/3/10    2020/3/6
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Cree                      Panel Program   EICN200360-3   2010179     $31,996.74    2020/3/10   2020/3/6
Cree                      Panel Program   EICN200360-4   2010180     $32,301.98    2020/3/10   2020/3/6
Paraflex                  Consignment     EIPA200393     2010184     $11,177.75    2020/3/13   2020/3/13
Cree                      Finance         EICN200380     2010204     $3,145.25     2020/3/13   2020/3/13
Barron                    Finance         EIBA20055-2    2010206     $5,545.14     2020/3/13   2020/3/10
Cree                      Panel Program   EICN200384-1   2010176 .   $16.58        2020/3/17   2020/3/8
Cree                      Finance         EICN200361     2010224     $61,260.73    2020/3/17   2020/3/12
Cree                      Panel Program   EICN200367-1   2010222     $39,691.89    2020/3/17   2020/3/12
Cree                      Panel Program   EICN200367-2   2010223     $38,124.30    2020/3/17   2020/3/12
Hubbell                   Finance         EIHP200420-1   2010229     $900.00       2020/3/19   2020/3/15
AZZ                       Finance         EIRI200315     2010232     $12,023.66    2020/3/23   2020/3/18
AZZ                       Finance         EIRI200303     2010241     $1,398.68     2020/3/23   2020/3/23
Cree                      Panel Program   EICN200368-1   2010243     $39,442.96    2020/3/25   2020/3/21
Cree                      Panel Program   EICN200368-2   2010244     $36,607.15    2020/3/25   2020/3/21
Signify(Lumec)            Finance         EILU200093     2010272     $2,371.44     2020/3/26   2020/3/26
CYCLONE                   Finance         EICY200474     2010280     $2,247.22     2020/3/26   2020/1/19
Hubbell                   Finance         EIHP200473     2010278     $245.34       2020/3/27   2020/3/26
Hubbell                   Tooling         EIHP200326T    2010277     $10,850.00    2020/3/27   2020/3/27
NLS                       Finance         EINL200425     2010276     $22,562.65    2020/3/27   2020/3/28
NEMALUX                   Finance         EINX200048     2010275     $28,577.00    2020/3/27   2020/3/23
Cree                      Tooling         EICN200476-2   2010274     $550.00       2020/3/27   2020/3/27
Signify(Canlyte)          Finance         EIGA200274     2010283     $26,722.75    2020/3/31   2020/3/23
AZZ                       Finance         EIRI200028     2010287     $187,538.47   2020/3/31   2020/3/30
Hubbell                   Finance         EIHP200472     2010282     $412.38       2020/3/31   2020/3/27
Cree                      Finance         EICN200331     2010315     $1,957.73     2020/3/31   2020/3/31
Generation                Finance         EIGB200078     2010289     $33,594.54    2020/4/1    2020/3/30
Hubbell                   Finance         EIHP200481     2010293     $95.70        2020/4/1    2021/3/31
Signify(Lumec)            Finance         EILU200093-2   2010285     $6,609.20     2020/4/1    2020/3/30
Signify(Genlyte Thomas)   Finance         EIDA200353     2010313     $539.53       2020/4/1    2021/4/1
Signify(Mountain Top)     Finance         EIGA200122     2010286     $3,162.90     2020/4/1    2020/3/26
Signify(DC Ontario)       Finance         EIGA200251-2   2010292     $2,217.46     2020/4/1    2020/3/30
Signify(Memphis)          Finance         EIGA200334-1   2010291     $6,616.35     2020/4/1    2020/3/31
Signify(Memphis)          Finance         EIGA200334-2   2010290     $962.43       2020/4/1    2020/4/1
Signify(Mountain Top)     Finance         EIGA200335     2010294     $2,589.12     2020/4/1    2020/4/2
Cyclone                   Finance         EICY200345     2010295     $6,057.00     2020/4/1    2020/4/2
Signify(DC Ontario)       Finance         EIGA200251     2010298     $3,502.27     2020/4/1    2020/4/8
Signify(Canlyte)          Finance         EIGA200490     2010300     $2,087.40     2020/4/2    2020/4/2
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Signify(DC Ontario)       Finance         EIGA200251-3   2010301    $1,751.14     2020/4/2     2020/4/2
Signify(Memphis)          Finance         EIGA200334-4   2010304    $962.43       2020/4/3     2020/4/3
Signify(Memphis)          Finance         EIGA200334-3   2010305    $962.43       2020/4/3     2020/4/3
Barron                    Finance         EIBA200075-2   2010310    $12,886.85    2020/4/3     2020/4/2
Signify（Box741）           Finance         EIGA200492     2010341    $1,563.65     2020/4/3     2020/1/19
Signify(Canlyte)          Finance         EIGA200336     2010321    $6,132.80     2020/4/7     2020/4/5
Hubbell                   Finance         EIHP200410     2010346    $1,450.00     2020/4/10    2020/4/10
Signify(Memphis)          Finance         EIGA200334-6   2010339    $721.82       2020/4/10    2020/4/10
Signify（Box741）           Finance         EILI191100-2   2010338    $1,836.80     2020/4/10    2019/11/26
EFS                       Credit Note     EI04102020     2010319    -$2,435.04    2020/4/10    2020/4/10
Signify(Canlyte)          Finance         EIGA200273     2010345    $2,606.09     2020/4/13    2020/3/29
Signify(Canlyte)          Finance         EIGA200355     2010363    $7,005.81     2020/4/16    2020/4/12
Signify(DC Ontario)       Finance         EIGA200251-4   2010354    $597.69       2020/4/16    2020/4/16
Signify(DC Ontario)       Finance         EIGA200251-7   2010362    $597.69       2020/4/17    2020/4/16
Sternberg                 Finance         EISE200362     2010372    $1,292.85     2020/4/17    2020/4/8
Signify(Memphis)          Finance         EIGA200413     2010376    $8,331.11     2020/4/21    2020/4/15
Signify(Genlyte Thomas)   Finance         EIDA200387     2010375    $1,728.56     2020/4/21    2020/4/16
Signify(Mountain Top)     Finance         EIGA200432     2010374    $3,162.90     2020/4/21    2020/4/18
CYCLONE                   Finance         EICY200401     2010377    $8,658.36     2020/4/21    2020/4/12
Barron                    Finance         EIBA200423     2010379    $1,539.71     2020/4/21    2020/4/18
Cree                      Panel Program   EICN200369     2010381    $53,754.64    2020/4/22    2020/4/15
Cree                      Troffer         EICN200370-1   2010401    $30,798.88    2020/4/22    2020/4/15
Cree                      Troffer         EICN200370-2   2010402    $18,732.76    2020/4/22    2020/4/15
Cree                      Finance         EICN200370-3   2010382    $74,220.20    2020/4/22    2020/4/15
Signify(Canlyte)          Finance         EIGA200363     2010403    $10,811.32    2020/4/23    2020/4/21
NLS                       Finance         EINL200304     2010406    $3,517.18     2020/4/24    2020/4/22
VISIONAIRE                Finance         EIVL200309     2010407    $2,538.72     2020/4/24    2020/4/22
Cree                      Panel Program   EICN200516-1   2010429    $39,948.34    2020/4/26    2020/4/20
AZZ                       Finance         EIRI190138F    2010431    $4,955.50     2020/4/27    2019/3/25
Hubbell                   Finance         EIHP190753     2010432    $519.05       2020/4/27    2019/6/20
Signify(Memphis)          Finance         EIGA200414-2   2010438    $1,764.36     2020/4/27    2020/4/27
Signify(Memphis)          Finance         EIGA200414-3   2010442    $1,765.23     2020/4/28    2020/4/28
Signify(Memphis)          Finance         EIGA200414-4   2010443    $1,765.23     2020/4/28    2020/4/28
cree                      Panel Program   EICN200545-2   2010449    $30,135.86    2020/4/29    2020/4/25
cree                      Panel Program   EICN200545-1   2010448    $39,557.98    2020/4/29    2020/4/25
cree                      Panel Program   EICN200518-2   2010447    $30,854.24    2020/4/29    2020/4/22
cree                      Panel Program   EICN200518-1   2010446    $38,209.81    2020/4/29    2020/4/22
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cree                     Panel Program   EICN200517-2    2010445      $31,195.98    2020/4/29    2020/4/22
cree                     Panel Program   EICN200517-1    2010444      $31,195.98    2020/4/29    2020/4/22
Barron                   Finance         EIBA200213      2010484      $45,181.71    2020/4/30    2020/4/27
Cree                     Troffer         EICN200519-1    2010507      $29,856.62    2020/5/5     2020/4/29
Cree                     Troffer         EICN200519-2    2010508      $32,105.09    2020/5/5     2020/4/29
HD/Commercial            HD              EICM200552      2010464      $112,837.78   2020/5/6     2020/5/3
Signify(Lumec)           Finance         EILU200333      2010488      $703.07       2020/5/7     2020/5/7
Generation               Finance         EIGB200348      2010493      $2,525.60     2020/5/7     2020/5/4
Maxlite                  Finance         EIMA200074      2010491      $331.50       2020/5/7     2020/5/1
Signify(DC Ontario)      Finance         EIGA200251-6    2010494      $2,390.76     2020/5/8     2020/4/29
Signify(Memphis)         Finance         EIGA200389      2010495      $3,201.30     2020/5/8     2020/4/29
Signify(DC Ontario)      Finance         EIGA200567      2010505      $2,217.46     2020/5/8     2020/5/6
Cree                     Troffer         EICN200544-1    2010509      $32,917.47    2020/5/9     2020/4/29
Cree                     Troffer         EICN200544-2    2010500      $33,209.94    2020/5/9     2020/4/29
Cree                     panel Program   EICN200569-1    2010501      $38,151.56    2020/5/9     2020/5/4
Cree                     panel Program   EICN200569-2    2010504      $31,309.28    2020/5/9     2020/5/4
Cree                     panel Program   EICN200568      2010565      $93,927.84    2020/5/9     2020/5/4
Paraflex                 Consignment     EIPA200220      2010499      $61,478.38    2020/5/9     2020/5/6
Cree                     Troffer         EICN200574-1    2010535      $29,948.62    2020/5/12    2020/5/9
Cree                     Troffer         EICN200574-2    2010536      $37,515.34    2020/5/12    2020/5/9
Cree                     Panel Program   EICN200554-1    2010520      $24,214.72    2020/5/12    2020/5/8
Cree                     Panel Program   EICN200554-2    2010521      $24,214.72    2020/5/12    2020/5/8
Cree                     Panel Program   EICN200554-3    2010522      $24,214.72    2020/5/12    2020/5/8
Cree                     Panel Program   EICN200555-1    2010519      $24,214.72    2020/5/12    2020/5/8
Cree                     Panel Program   EICN200555-2    2010518      $26,447.02    2020/5/12    2020/5/8
Cree                     Tooling         EICN2000513     2010532      $3,500.00     2020/5/13    2020/5/13
Signify(Memphis)         Finance         EIGA200414      2010534      $42,772.56    2020/5/14    2020/5/2
Cree                     Troffer         EICN200576-1    2010560      $37,547.32    2020/5/18    2020/5/12
Cree                     Troffer         EICN200576-2    2010561      $27,582.15    2020/5/18    2020/5/12
Cree                     Troffer         EICN200575      2010562      $28,872.13    2020/5/18    2020/5/12
Cree                     Troffer         EICN200639      2010544      $1,577.60     2020/5/18    2020/5/16
Cree                     Panel Program   EICN200593-1    2010545      $39,374.72    2020/5/19    2020/5/13
Cree                     Panel Program   EICN200593-2    2010546      $35,495.40    2020/5/19    2020/5/13
Cree                     Panel Program   EICN200594-1    2010558      $29,121.13    2020/5/19    2020/5/13
Cree                     Panel Program   EICN200594-2    2010570      $33,978.42    2020/5/19    2020/5/13
AZZ                      Finance         EIRI200493      2010568      $4,100.00     2020/5/19    2020/5/19
Cree                     Finance         EICN200562-1    2010563      $43,061.10    2020/5/19    2020/5/9
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Cree                      Finance         EICN200562-2   2010569    $90,673.24    2020/5/19    2020/5/19
PRUDENTIAL LIGHTING       Finance         EIPL200304     2010572    $1,187.00     2020/5/21    2020/5/21
Hubbell                   Finance         EIHP200646     2010571    $479.20       2020/5/22    2020/5/13
Paraflex                  Consignment     EIPA200628     2010552    $4,748.95     2020/5/22    2020/5/19
Cree                      Panel Program   EICN200613-1   2010587    $29,550.61    2020/5/26    2020/5/22
Cree                      Panel Program   EICN200613-2   2010588    $29,550.61    2020/5/26    2020/5/22
Lumca                     Finance         EILC200559     2010589    $46,879.17    2020/5/26    2020/5/10
Lumca                     Finance         EILC200560     2010590    $90,412.74    2020/5/26    2020/5/10
Cree                      Troffer         EICN200634     2010592    $35,935.10    2020/5/27    2020/5/20
Cree                      Panel Program   EICN200624-1   2010598    $57,217.03    2020/5/27    2020/5/22
Cree                      Panel Program   EICN200624-2   2010597    $37,016.66    2020/5/27    2020/5/22
Cree                      Panel Program   EICN200625-1   2010593    $29,652.00    2020/5/27    2020/5/22
Cree                      Panel Program   EICN200625-2   2010594    $29,658.15    2020/5/27    2020/5/22
Cree                      Finance         EICN200595-1   2010595    $6,597.60     2020/5/27    2020/5/19
Cree                      Finance         EICN200595-2   2010596    $76,944.01    2020/5/27    2020/5/19
Lite Maintenance          Finance         EILM200427-1   2010602    $668.87       2020/5/28    2020/5/28
Signify(Memphis)          Finance         EIGA200503     2010603    $2,132.11     2020/6/1     2020/5/28
Signify(Lumec)            Finance         EILU200415     2010604    $9,050.29     2020/6/1     2020/5/25
Cree                      Troffer         EICN200649-1   2010616    $29,679.31    2020/6/2     2020/6/1
Hubbell                   Finance         EIHP200688     2010641    $188.02       2020/6/10    2020/5/26
Signify(DC Ontario)       Finance         EIGA200698     2010850    $1,751.14     2020/7/17    2020/7/8
Signify(Memphis)          Finance         EIGA200743     2010852    $2,132.11     2020/7/17    2020/7/17
Cree                      Troffer         EICN200816     2010918    $38,077.94    2020/7/27    2020/7/21
Barron                    Finance         EIBA200703     2010917    $5,488.45     2020/7/27    2020/7/15
Generation                Finance         EIGB200645B    2010915    $19,548.00    2020/7/27    2020/7/27
NLS                       JIT             EINL200608     2010916    $52,244.33    2020/7/28    2020/7/25
PRUDENTIAL LIGHTING       Finance         EIPL200556     2010919    $4,608.40     2020/7/28    2020/7/25
AZZ                       Finance         EIRI200512     2010920    $55,553.20    2020/7/28    2020/7/25
Signify（Box741）           Panel Program   EILI200676     2010921    $66,435.88    2020/7/29    2020/7/16
Signify(Genlyte Thomas)   Finance         EIDA200680-2   2010922    $952.84       2020/7/29    2020/7/17
Hubbell                   Finance         EIHP200973     2010967    $70.91        2020/8/3     2020/7/31
EFS                       Panel Program   EIEF200850     2010979    $33,611.00    2020/8/4     2020/7/30
EFS                       Panel Program   EIEF200852-1   2010985    $33,089.00    2020/8/5     2020/7/31
Hubbell                   Panel Program   EIHP200710     2011008    $205,258.26   2020/8/7     2020/7/31
Hubbell                   Tooling         EIHP200810T    2011011    $42,625.00    2020/8/10    2020/8/10
EFS                       Panel Program   EIEF200980     20200032   $34,033.68    2020/8/20    2020/8/16
Hubbell                   Tooling         EIHP200825     20200086   $700.00       2020/8/25    2020/8/25
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Hubbell               Tooling          EIHP200226T-2   20200093    $4,467.00     2020/8/26    2020/8/26
Hubbell               Tooling          EIHP200828T     20200160    $3,750.00     2020/8/28    2020/8/28
HD/Commercial         HD               EICM201046      20200142    $72,297.74    2020/9/1     2020/8/30
Barron                Finance          EIBA200723-2    20200222    $1,366.29     2020/9/10    2020/9/9
Design Lighting       Finance          EIMK201183      20200227    $60,491.40    2020/9/14    2020/9/14
Cree                  Retrofit         EICN201197      20200252    $2,610.24     2020/9/15    2020/9/15
EFS                   Panel Program    EI09172020      20210046    $207,642.24   2020/9/17    2020/9/17
Cree                  JIT              EICN200970-1    20200212    $30,198.60    2020/9/21    2020/8/18
Cree                  JIT              EICN200970-2    20200220    $47,430.50    2020/9/21    2020/8/18
AZZ                   Finance          EIRI201195      20200228    $2,091.00     2020/9/21    2020/9/17
Signify(Memphis)      Panel Program    EIGA200829      20200230    $23,207.04    2020/9/22    2020/9/9
Lumca                 Finance          EILC200396      20200365    $9,702.15     2020/9/22    2020/9/13
Generation            Finance          EIGB200974      20200251    $5,387.40     2020/9/23    2020/9/18
Cree                  Troffer          EICN201156-1    20200257    $19,716.36    2020/9/24    2020/9/22
Cree                  Finance          EICN201156-2    20200258    $16,258.82    2020/9/24    2020/9/22
Cree                  Retrofit         EICN201280      20200468    $290.00       2020/9/29    2020/9/27
Cree                  Panel Program    EICN201141-1    20200367    $31,534.50    2020/9/30    2020/9/16
Cree                  Retrofit         EICN201214      20200469    $19,317.95    2020/9/30    2020/9/30
Cree                  Retrofit         EICN201161-2    20200582    $35,180.12    2020/10/9    2020/9/30
Cree                  Troffer          EICN201161-1    20200581    $34,414.48    2020/10/9    2020/9/30
EFS                   Panel Program    EIEF201121      20200403    $43,329.60    2020/10/9    2020/10/1
EFS                   Panel Program    EIEF201276      20200293    $4,424.22     2020/10/9    2020/10/2
EFS                   Panel Program    EIEF201177      20200385    $43,708.86    2020/10/10   2020/9/29
EFS                   Open Inventory   EIEF200947      20200422    $21,911.00    2020/10/10   2020/10/2
EFS                   Panel Program    EIEF201120      20200421    $42,709.92    2020/10/12   2020/10/2
Hubbell               Finance          EIBC201009      20200377    $10,631.40    2020/10/12   2020/10/2
Generation            Finance          EIGB201054      20200383    $8,581.30     2020/10/12   2020/10/9
EFS                   Panel Program    EIEF201255-1    20200429    $51,196.40    2020/10/13   2020/10/7
EFS                   Panel Program    EIEF201255-2    20200430    $47,568.50    2020/10/13   2020/10/7
EFS                   Panel Program    EIEF201255-3    20200431    $41,967.10    2020/10/13   2020/10/7
Cree                  Panel Program    EICN201045-2    20200585    $37,296.07    2020/10/14   2020/10/10
Hubbell               Finance          EIHP201003      20200390    $9,570.43     2020/10/14   2020/10/9
Hubbell               Finance          EIHP201238      20200391    $2,753.55     2020/10/14   2020/10/9
Cree                  Retrofit         EICN201235      20200442    $47,589.62    2020/10/15   2020/10/5
Cree                  Retrofit         EICN201234-1    20200465    $27,872.50    2020/10/15   2020/10/10
Cree                  Finance          EICN201234-2    20200586    $26,680.24    2020/10/15   2020/10/10
Cree                  Panel Program    EICN201059-1    20200418    $32,787.50    2020/10/15   2020/10/10
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Cree                      Panel Program   EICN201059-2     20200419   $32,394.05   2020/10/15   2020/10/10
Signify(Memphis)          Panel Program   EIGA201051       20200393   $23,207.04   2020/10/15   2020/10/2
Signify（Box741）           Panel Program   EILI201069       20200414   $36,321.68   2020/10/15   2020/10/9
Signify(DC Ontario)       Finance         EIGA201185       20200405   $1,108.73    2020/10/15   2020/10/7
Signify(Memphis)          Panel Program   EIGA201186       20200413   $73,017.72   2020/10/15   2020/10/5
CYCLONE                   Finance         EICY201168       20200407   $360.72      2020/10/15   2020/9/30
Signify(Mountain Top)     Panel Program   EIGA200997       20200406   $2,006.34    2020/10/15   2020/10/2
AZZ                       Finance         EIRI201219       20200392   $12,264.00   2020/10/15   2020/10/15
Greenbeam                 Finance         EIGR200917       20200436   $19,099.50   2020/10/15   2020/10/2
AZZ                       Finance         EIRI201326       20200439   $654.68      2020/10/16   2020/10/16
Cree                      Troffer         EICN201285       20200464   $3,680.00    2020/10/16   2020/10/15
Cree                      Finance         EICN201113-3     20200443   $6,656.35    2020/10/20   2020/9/9
Cree                      Panel Program   EICN201265       20200420   $36,254.95   2020/10/20   2020/10/14
NEMALUX                   Finance         EINX200930       20200416   $24,091.38   2020/10/21   2020/10/11
Sternberg                 Finance         EISE200005-2     20200440   $2,639.25    2020/10/21   2020/10/2
LUMUX                     Finance         EILX201092       20210445   $280.50      2020/10/21   2020/10/15
Cree                      Troffer         EICN200634-2     20200470   $1,002.78    2020/10/21   2020/5/20
Cree                      Troffer         EICN200650-1-2   20200471   $11,221.40   2020/10/21   2020/6/10
Cree                      Troffer         EICN200650-2     20200473   $12,582.80   2020/10/21   2020/6/10
Cree                      Troffer         EICN200650-3-2   20200474   $16,731.70   2020/10/21   2020/6/10
Cree                      Troffer         EICN200729       20200488   $5,675.08    2020/10/21   2020/6/12
Cree                      Troffer         EICN200738-2     20200487   $13,539.46   2020/10/21   2020/6/17
Cree                      Troffer         EICN200748       20200567   $21,507.16   2020/10/21   2020/6/24
Cree                      Troffer         EICN201287       20200446   $32,544.15   2020/10/22   2020/10/19
Cree                      Troffer         EICN201057       20200445   $33,540.75   2020/10/22   2020/10/19
Cree                      Troffer         EICN201313       20200452   $55,131.86   2020/10/22   2020/10/19
Cree                      Retrofit        EICN201246       20200486   $507.71      2020/10/23   2020/10/22
Cree                      Retrofit        EICN201335       20200447   $644.00      2020/10/23   2020/10/22
Signify(Canlyte)          Panel Program   EIGA200943       20200478   $14,065.80   2020/10/26   2020/10/6
Signify(Genlyte Thomas)   Finance         EIDA200949       20200483   $557.60      2020/10/26   2020/10/22
Signify(Canlyte)          Finance         EIGA201052       20200449   $3,883.16    2020/10/26   2020/10/7
Signify(Canlyte)          Finance         EIGA201143       20200476   $6,723.36    2020/10/26   2020/10/19
Signify(Memphis)          Finance         EIGA201187       20200448   $3,254.93    2020/10/26   2020/10/19
Signify(DC Ontario)       Finance         EIGA201005       20200450   $1,751.14    2020/10/26   2020/9/28
Signify(Memphis)          Finance         EIGA201004       20200451   $6,201.36    2020/10/26   2020/9/28
NLS                       Finance         EINL201433       20200639   $499.90      2020/10/26   2020/10/26
Cree                      Troffer         EICN201266       20200472   $57,133.72   2020/10/28   2020/10/26
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Lite Maintenance          Finance         EILM201452-1   20200482   $2,900.00     2020/10/29   2020/10/29
Hubbell                   Finance         EIHP201450     20200540   $126.32       2020/10/29   2020/10/28
Hubbell                   Finance         EIHP201459     20200542   $201.76       2020/10/29   2020/10/28
Barron                    Finance         EIBA201207     20200504   $126.22       2020/10/31   2020/10/30
Cree                      Troffer         EICN201212     20200507   $533.80       2020/11/1    2020/9/12
LSI Hamilton Lighting Systems
                          Finance         EILH200842     20200809   $33,805.44    2020/11/2    2020/10/25
AZZ                       Finance         EIRI201132     20200523   $87,616.78    2020/11/4    2020/11/3
Hubbell                   Finance         EIBC201360     20200629   $349.88       2020/11/4    2020/11/3
Cree                      Retrofit        EICN201099     20200703   $40,154.89    2020/11/5    2020/11/3
Cree                      Panel Program   EICN201124-1   20200527   $32,902.32    2020/11/5    2020/11/3
Cree                      Panel Program   EICN201124-2   20200528   $32,262.90    2020/11/5    2020/11/3
Cree                      Panel Program   EICN201124-3   20200529   $36,328.98    2020/11/5    2020/11/3
Cree                      Panel Program   EICN201124-4   20200530   $36,118.05    2020/11/5    2020/11/3
Cree                      Troffer         EICN201144     20200531   $28,330.74    2020/11/5    2020/11/3
Cree                      Retrofit        EICN201456     20200547   $2,279.20     2020/11/6    2020/11/5
HD/Commercial             HD              EICM201283     20200522   $131,466.36   2020/11/6    2020/10/9
HD/Commercial2.0          HD              EICM201306     20200632   $119,542.46   2020/11/6    2020/10/24
HD/Commercial             HD              EICM201358     20200655   $66,409.32    2020/11/6    2020/10/31
Cree                      Retrofit        EICN201481     20200548   $2,823.16     2020/11/9    2020/11/9
EFS                       Panel Program   EIEF201395     20200635   $42,659.00    2020/11/9    2020/11/4
EFS                       Panel Program   EIEF201394     20200634   $42,659.00    2020/11/9    2020/11/4
Signify(DC Ontario)F      Finance         EIGA201043     20200550   $2,626.70     2020/11/9    2020/11/2
Signify(Mountain Top)     Finance         EIGA201224     20200543   $7,999.65     2020/11/9    2020/10/27
Lumca                     Finance         EILC201103     20200551   $435.00       2020/11/9    2020/11/4
Signify(Canlyte)          Finance         EIGA201318     20200552   $2,589.12     2020/11/9    2020/11/4
Signify(DC Ontario)F      Finance         EIGA201355     20200553   $1,265.85     2020/11/9    2020/11/4
Cree                      Retrofit        EICN201289-1   20200557   $49,915.91    2020/11/9    2020/11/3
Cree                      Retrofit        EICN201289-2   20200558   $42,468.94    2020/11/9    2020/11/3
EFS                       Panel Program   EIEF201396     20200665   $42,659.00    2020/11/10   2020/11/10
EFS                       Panel Program   EIEF201393     20200661   $45,988.36    2020/11/10   2020/11/7
Cree                      Panel Program   EICN201178-1   20200545   $33,137.35    2020/11/10   2020/11/10
Cree                      Panel Program   EICN201178-2   20200561   $32,262.90    2020/11/10   2020/11/10
Cree                      Troffer         EICN201288     20200588   $37,548.02    2020/11/10   2020/10/26
NLS                       Finance         EINL201555     20200559   $800.60       2020/11/11   2020/11/10
Cree                      Panel Program   EICN201441-1   20200560   $32,262.90    2020/11/11   2020/11/10
Cree                      Panel Program   EICN201441-2   20200546   $32,262.90    2020/11/11   2020/11/10
Generation                Finance         EIGB201153     20200563   $6,514.98     2020/11/11   2020/11/11
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Cree                       Panel Program   EICN201441-3    20200562     $33,569.85    2020/11/11   2020/11/10
HD/Commercial              HD              EICM201420      20200656     $199,079.94   2020/11/11   2020/11/7
Cree                       Tooling         EICN201113T     2010065      $3,900.00     2020/11/13   2020/11/13
Cree                       Troffer         EICN201480      20200614     $2,016.00     2020/11/13   2020/11/13
Hubbell                    Finance         EIHP201550      20200624     $234.90       2020/11/13   2020/11/9
Hubbell                    Finance         EIHP201573      20200628     $252.20       2020/11/13   2020/11/13
Lumca                      Finance         EILC201148      20200625     $743.22       2020/11/14   2020/11/4
Signify(Canlyte)           Finance         EIGA201378      20200626     $5,507.73     2020/11/14   2020/11/12
Signify(Memphis)           Finance         EIGA201259      20200623     $3,470.05     2020/11/14   2020/11/11
Signify(Memphis)           Panel Program   EIGA201191      20200627     $24,914.52    2020/11/14   2020/11/10
Signify(Mountain Top)      Panel Program   EIGA201174      20200638     $40,612.32    2020/11/14   2020/11/6
Paraflex                   Consignment     EIPA200991      20200699     $39,310.80    2020/11/17   2020/11/13
Hubbell                    Finance         EIBC201102      20200637     $28,999.92    2020/11/18   2020/11/15
Cree                       Retrofit        EICN201489-1    20200677     $24,140.36    2020/11/19   2020/11/16
Cree                       Troffer         EICN201489-2    20200678     $41,566.20    2020/11/19   2020/11/16
Cree                       Troffer         EICN201489-3    20200727     $286.50       2020/11/19   2020/11/19
Cree                       Troffer         EICN201439      20200687     $2,636.00     2020/11/19   2020/11/19
Cree                       Panel Program   EICN201277-1    20200671     $34,153.50    2020/11/19   2020/11/16
Cree                       Panel Program   EICN201277-2    20200672     $32,178.90    2020/11/19   2020/11/16
Cree                       Retrofit        EICN201277-3    20200673     $42,010.45    2020/11/19   2020/11/16
Barron                     Finance         EIBA201075      20200682     $11,012.69    2020/11/19   2020/11/17
Barron                     Finance         EIBA200994      20200683     $18,958.15    2020/11/19   2020/10/26
CYCLONE                    Finance         EICY201149      20200684     $13,250.88    2020/11/19   2020/11/12
CYCLONE                    Finance         EICY201149-1    20200685     $1,710.63     2020/11/19   2020/11/6
CYCLONE                    Finance         EICY201149-2    20200686     $6,671.46     2020/11/19   2020/11/17
Hubbell                    Finance         EIHP201411      20200680     $3,546.26     2020/11/20   2020/10/23
Cree                       Finance         EICN201211-1    20200669     $42,091.64    2020/11/20   2020/11/19
Cree                       Troffer         EICN201211-2    20200670     $42,925.25    2020/11/20   2020/11/19
Hubbell                    Tooling         EIHP201120T     20200679     $750.00       2020/11/20   2020/11/20
HD/Commercial              HD              EICM201424      20200658     $120,295.50   2020/11/20   2020/11/16
HD/Commercial              HD              EICM201419      20200659     $204,424.70   2020/11/20   2020/11/16
Hubbell                    Finance         EIBC201278      20200668     $2,857.08     2020/11/23   2020/11/18
AZZ                        Finance         EIRI201414      20200688     $3,957.73     2020/11/24   2020/11/23
Cree                       Panel Program   EICN201332-1    20200689     $33,362.00    2020/11/24   2020/11/23
Cree                       Panel Program   EICN201332-2    20200690     $31,869.45    2020/11/24   2020/11/23
Cree                       Panel Program   EICN201332-3    20200691     $32,656.35    2020/11/24   2020/11/23
EFS                        Panel Program   EIEF201466-1    20200709     $49,073.16    2020/11/24   2020/11/19
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EFS                       Panel Program    EIEF201466-2    20200710   $56,697.16    2020/11/24   2020/11/19
Hubbell                   Tooling          EIHP201124      20200713   $3,900.00     2020/11/24   2020/11/24
Cree                      Troffer          EICN201430      20200730   $29,330.57    2020/11/25   2020/11/23
Cree                      Troffer          EICN201490-1    20200719   $26,595.44    2020/11/25   2020/11/23
Cree                      Troffer          EICN201490-2    20200720   $34,033.97    2020/11/25   2020/11/23
NLS                       Finance          EINL201434      20200676   $604.75       2020/11/25   2020/11/16
Cree                      Troffer          EICN201506      20200700   $780.00       2020/11/25   2020/11/16
EFS                       Open Inventory   EIEF201248      20200664   $813.00       2020/11/25   2020/11/16
HD/Commercial             HD               EICM201463      20200660   $162,967.28   2020/11/25   2020/11/16
Hubbell                   Finance          EIHP201539      20200715   $3,050.01     2020/11/26   2020/11/23
Hubbell                   Finance          EIHP201598      20200716   $15,936.73    2020/11/26   2020/11/26
Hubbell                   Finance          EIHP201590      20200717   $290.32       2020/11/26   2020/11/17
Cree                      Troffer          EICN201288-2    20200714   $323.00       2020/11/27   2020/10/26
Cree                      Finance          EICN201189-1A   20200722   $13,730.90    2020/11/27   2020/11/23
Cree                      Troffer          EICN201189-2    20200724   $43,878.21    2020/11/27   2020/11/23
Cree                      Panel Program    EICN201189-3    20200725   $38,968.70    2020/11/27   2020/11/23
HD/Commercial             HD               EICM201422-1    20200744   $163,835.34   2020/11/27   2020/11/23
HD/Commercial             HD               EICM201422-2    20200745   $129,661.58   2020/11/27   2020/11/23
EFS                       Panel Program    EIEF201467-1    20200731   $43,247.40    2020/11/30   2020/11/22
EFS                       Panel Program    EIEF201467-2    20200732   $39,945.98    2020/11/30   2020/11/22
Generation                Finance          EIGB201365      20200721   $2,525.60     2020/11/30   2020/11/30
LSI Hamilton Lighting Systems
                          Finance          EILH201342      20200778   $98,808.00    2020/11/30   2020/11/26
AZZ                       Finance          EIRI201165      20200728   $7,017.15     2020/12/1    2020/11/28
Cree                      Troffer          EICN201357-1    20200729   $32,048.81    2020/12/1    2020/11/30
Cree                      Troffer          EICN201357-2    20200746   $35,738.30    2020/12/1    2020/11/30
HD/Commercial             HD               EICM201457      20200733   $163,059.48   2020/12/1    2020/11/28
Signify(Memphis)          Panel Program    EIGA201173      20200749   $66,720.24    2020/12/2    2020/11/14
Signify(Mountain Top)     Panel Program    EIGA201260      20200751   $26,170.48    2020/12/2    2020/11/15
Signify(Memphis)          Finance          EIGA201444      20200767   $14,840.67    2020/12/2    2020/11/18
Signify（Box741）           Panel Program    EILI201317      20200766   $33,860.60    2020/12/2    2020/11/26
Signify(Canlyte)          Finance          EIGA201319      20200753   $6,890.75     2020/12/2    2020/11/23
Signify(Canlyte)          Panel Program    EIGA201336      20200768   $16,075.20    2020/12/2    2020/11/16
Cree                      Retrofit         EICN201435      20200779   $3,041.25     2020/12/3    2020/12/2
Hubbell                   Finance          EIHP201640      20200765   $2,936.35     2020/12/3    2020/11/30
Hubbell                   Finance          EIHP201630      20200764   $430.65       2020/12/3    2020/11/24
Hubbell                   Finance          EIHP201637      20200780   $68.66        2020/12/3    2020/11/26
Hubbell                   Finance          EIHP201643      20200763   $42.80        2020/12/3    2020/11/27
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Hubbell                    Finance          EIHP201639     20200781     $352.35       2020/12/3    2020/11/26
Signify                    Finance          EIGA201375     20200887     $156.68       2020/12/3    2020/11/24
Cree                       Finance          EICN201203     20210462     $250.00       2020/12/3    2020/12/3
AZZ                        Finance          EIRI201495     20200762     $4,549.97     2020/12/4    2020/11/23
EFS                        Open Inventory   EIEF201100     20200756     $5,624.00     2020/12/7    2020/12/2
Cree                       Finance          EICN201333-1   20200782     $56,504.87    2020/12/7    2020/12/4
Cree                       Finance          EICN201333-2   20200783     $29,441.10    2020/12/7    2020/12/4
Cree                       Panel Program    EICN201385     20200784     $35,961.92    2020/12/7    2020/12/4
NLS                        Finance          EINL201588     20200755     $30,684.40    2020/12/7    2020/12/4
Cree                       Troffer          EICN201566     20200793     $1,045.00     2020/12/7    2020/11/26
Cree                       Troffer          EICN201344-1   20200791     $48,808.60    2020/12/7    2020/12/4
Cree                       Troffer          EICN201344-2   20200792     $41,485.30    2020/12/7    2020/12/4
Cree                       Troffer          EICN201344-3   20210299     $62,674.70    2020/12/7    2020/12/4
HD/Commercial              HD               EICM201423     20200757     $102,501.06   2020/12/7    2020/12/2
HD/Commercial              HD               EICM201551     20200796     $131,146.18   2020/12/9    2020/12/4
Cree                       Troffer          EICN201628     20200795     $36,068.80    2020/12/10   2020/12/8
Signify(Canlyte)           Panel Program    EIGA201225     20200856     $20,073.60    2020/12/10   2020/12/5
AZZ                        Finance          EIRI201223     20210442     $110,940.34   2020/12/11   2020/12/9
Hubbell                    Finance          EIHP201658     20200854     $157.91       2020/12/11   2020/12/4
Hubbell                    Finance          EIHP201672     20200853     $147.90       2020/12/11   2020/12/11
Signify(Mountain Top)      Finance          EIGA201446-2   20200852     $123.31       2020/12/12   2020/12/4
Signify(Memphis)           Panel Program    EIGA201460     20200833     $6,983.40     2020/12/12   2020/12/2
Signify                    Finance          EIGA201350     20200851     $25,889.11    2020/12/12   2020/12/7
Signify(Canlyte)           Finance          EIGA201379     20200850     $5,812.47     2020/12/12   2020/12/7
Signify（Box741）            Panel Program    EILI201412     20200849     $102,453.12   2020/12/12   2020/12/1
Signify(DC Ontario)        Finance          EIGA201470-2   20200848     $1,313.35     2020/12/12   2020/12/11
Signify(Memphis)           Finance          EIGA201471     20200847     $1,764.36     2020/12/12   2020/12/8
Lite Maintenance           Finance          EILM201452-2   20200843     $1,856.00     2020/12/15   2020/12/9
Cree                       Panel Program    EICN201526     20200844     $37,912.52    2020/12/15   2020/12/9
Lumca                      Finance          EILC201532     20210099     $107,053.75   2020/12/15   2020/11/26
Lumca                      Finance          EILC201507     20200845     $31,835.28    2020/12/15   2020/11/26
Hubbell                    Finance          EIHP201428     20200846     $7,965.72     2020/12/15   2020/12/8
HD/Commercial              HD               EICM201585     20200893     $119,520.28   2020/12/15   2020/12/7
Cree                       Troffer          EICN201666     20200888     $634.50       2020/12/16   2020/12/15
HD/Commercial              HD               EICM201584     20200890     $144,695.46   2020/12/16   2020/12/9
HD/Commercial              HD               EICM201608     20200956     $128,221.94   2020/12/16   2020/12/11
HD/Commercial              HD               EICM201606     20200842     $151,244.32   2020/12/16   2020/12/13
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Cree                     Panel Program   EICN201455-1    20200948     $32,577.66       2020/12/17   2020/12/15
Cree                     Panel Program   EICN201455-2    20200949     $32,394.05       2020/12/17   2020/12/15
Cree                     Finance         EICN201392-1    20200946     $37,839.57       2020/12/17   2020/12/15
Cree                     Finance         EICN201392-2    20200947     $26,598.50       2020/12/17   2020/12/15
Hawthorne                Finance         EIHA209999      20210038     $777.60          2020/12/17   2020/12/12
EFS                      Panel Program   EIEF201469      20200951     $44,404.40       2020/12/18   2020/12/9
Cree                     Troffer         EICN2001218-1   20200963     $20,247.31       2020/12/18   2020/12/18
Cree                     Troffer         EICN201569-2    20210301     $31,960.12       2020/12/18   2020/12/15
Cree                     Troffer         EICN201569-3    20210152     $26,694.96       2020/12/18   2020/12/15
HD/Commercial            HD              EICM201607      20200889     $120,711.94      2020/12/18   2020/12/10
HD/Commercial            HD              EICM201609      20200952     $142,073.90      2020/12/18   2020/12/15
Hubbell                  Tooling         EIHP200810T-2   20210014     $14,867.00       2020/12/21   2020/12/21
Hubbell                  Tooling         EIHP200828T-2   20210015     $1,470.00        2020/12/21   2020/12/21
Hubbell                  Tooling         EIHP200818T-2   20210016     $18,000.00       2020/12/21   2020/12/21
Hubbell                  Finance         EIHP201678      20210021     $1,466.44        2020/12/22   2020/12/20
Hubbell                  Finance         EIHP201683      20210022     $21.14           2020/12/22   2020/12/22
Cree                     Panel Program   EICN201436-1    20210303     $35,322.27       2020/12/23   2020/12/19
Cree                     Troffer         EICN201436-2    20210304     $25,512.64       2020/12/23   2020/12/19
Cree                     Troffer         EICN201436-3    20210305     $31,269.48       2020/12/23   2020/12/19
CYCLONE                  Finance         EICY201486      20210031     $508.05          2020/12/23   2020/12/18
HD/Commercial            HD              EICM201535      20200950     $144,632.42      2020/12/23   2020/12/19
HD/Commercial            HD              EICM201552      20200965     $156,462.04      2020/12/23   2020/12/19
Signify(Memphis)         Finance         EIGA201059-2    20210024     $1,075.62        2020/12/28   2020/12/17
Signify(Memphis)         Finance         EIGA201059      20210023     $1,229.28        2020/12/28   2020/12/16
Signify(Canlyte)         Finance         EIGA201491      20210100     $17,331.16       2020/12/28   2020/12/5
Signify(Memphis)         Panel Program   EIGA201528      20210025     $24,345.36       2020/12/28   2020/12/19
Signify(DC Ontario)      Panel Program   EIGA201413      20210026     $23,776.20       2020/12/28   2020/12/19
Signify(Memphis)         Finance         EIGA201445      20210027     $12,005.48       2020/12/28   2020/12/19
Barron                   Finance         EIBA201374      20210097     $2,864.50        2020/12/28   2020/12/28
ESTELLES                 Finance         EIET201347-2    20210034     $3,341.80        2020/12/28   2020/12/26
HD/Commercial            HD              EICM201613      20210004     $135,433.40      2020/12/28   2020/12/24
EFS                      Panel Program   EIEF201468      20200962     $43,348.84       2020/12/29   2020/12/23
EFS                      Finance         EIEF201229      20210068     $147.00          2020/12/29   2020/12/29
Hubbell                  Finance         EIHP201645      20210037     $290.32          2020/12/30   2020/11/30
Cree                     Troffer         EICN201685-1    20210035     $857.50          2020/12/31   2020/12/30
                                                         Total:       $12,319,286.80
NLS                      Finance         EINL201376      20210047     $139,783.10      2021/1/3     2021/1/3
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Stanpro                   Finance         EISP201583      20210053     $774.00       2021/1/5     2021/1/5
AZZ                       Finance         EIRI210216      20210147     $961.16       2021/1/7     2021/1/7
AZZ                       Finance         EIRI210217      20210148     $1,770.60     2021/1/11    2021/1/11
Signify(Canlyte)          Finance         EIGA201447      20210258     $6,015.18     2021/1/16    2021/1/16
NLS                       Finance         EINL210241      20210205     $129.80       2021/1/19    2021/1/19
Barron                    Finance         EIBA201562      20210204     $167.45       2021/1/14    2021/1/14
Barron                    Finance         EIBA201488      20210203     $504.90       2021/1/11    2021/1/11
Signify(Lumec)            Finance         EILU201531      20210259     $11,249.69    2021/1/16    2021/1/16
Cree                      Finance         EICN201679-1    20210198     $61,241.10    2021/1/15    2021/1/15
Cree                      Finance         EICN201679-2    20210199     $108,795.90   2021/1/15    2021/1/15
Lumca                     Finance         EILC210167      20210260     $115,111.98   2021/1/15    2021/1/15
Hubbell                   Finance         EIHP210244      20210208     $84.83        2021/1/20    2021/1/20
Hubbell                   Finance         EIHP210243      20210207     $95.70        2021/1/19    2021/1/19
Lumca                     Finance         EILC201114      20210210     $440.00       2021/1/22    2021/1/22
Lumca                     Finance         EILC210251      20210211     $107.53       2021/1/22    2021/1/22
Hubbell                   Finance         EIHP210248      20210212     $9,394.89     2021/1/26    2021/1/26
Lumca                     Finance         EILC210166      20210213     $109,507.78   2021/1/17    2021/1/17
Lumca                     Finance         EILC210168      20210214     $22,214.93    2021/1/17    2021/1/17
AZZ                       Finance         EIRI210249      20210264     $3,337.02     2021/1/22    2021/1/22
Hubbell                   Finance         EIBC201391      20210265     $18,392.43    2021/1/15    2021/1/15
Lite Maintenance Inc      Finance         EILM210201      20210184     $1,312.00     2021/1/18    2021/1/18
Lumca                     Finance         EILC210250      20210209     $700.00       2021/1/22    2021/1/22
Hubbell                   Finance         EIHP210264      20210267     $94.48        2021/1/25    2021/1/25
VC BRANDS LLC             Finance         EIGB201324      20210348     $124,195.09   2021/1/30    2021/1/30
NLS                       Finance         EINL201354      20210269     $154,809.03   2021/1/25    2021/1/25
AZZ                       Finance         EIRI210015      20210484     $93,399.31    2021/1/28    2021/1/28
Hubbell                   JIT             EIHP201595      20210295     $106,685.12   2021/1/24    2021/1/24
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Hubbell               JIT              EIBC210036     20210189     $95,202.00    2021/1/15    2021/1/15
Cree                  Finance          EICN2100122    20210218     $1,090.00     2021/1/22    2021/1/22
Signify               Finance          EILI210229-2   20210281     $1,607.20     2021/2/2     2021/2/2
Signify(Canlyte)      Finance          EIGA210013     20210282     $848.69       2021/1/16    2021/1/16
Signify               Finance          EIGA210010     20210283     $7,999.65     2021/1/18    2021/1/18
Signify               Finance          EILI210229     20210284     $688.80       2021/1/16    2021/1/16
Signify               Finance          EIGA210057     20210285     $2,626.70     2021/1/31    2021/1/31
Signify               Finance          EIGA210042     20210286     $6,015.18     2021/1/7     2021/1/7
Signify               Finance          EIGA210009     20210287     $1,764.36     2021/1/27    2021/1/27
Barron                Finance          EIBA201338-1   20210270     $3,417.85     2021/1/27    2021/1/27
Hubbell               Finance          EIHP210164     20210417     $22,731.07    2021/2/1     2021/2/1
Barron                Finance          EIBA201338-2   20210288     $26,082.26    2021/2/8     2021/2/8
Hubbell               Finance          EIBC210041     20210418     $19,771.28    2021/2/1     2021/2/1
Hubbell               JIT              EIBC210004     20210233     $93,885.41    2021/1/20    2021/1/20
Hubbell               JIT              EIBC210066     20210234     $54,463.29    2021/1/26    2021/1/26
EFS                   Open Inventory   EIEF210072     20210298     $114,966.85   2021/1/28    2021/1/28
Signify(Canlyte)      Finance          EIGA210038     20210347     $2,111.23     2021/1/25    2021/1/25
Signify(Memphis)      Finance          EIGA210037     20210346     $6,046.85     2021/2/10    2021/2/10
Signify(Memphis)      Finance          EIGA210037-2   20210356     $1,764.36     2021/2/3     2021/2/3
Signify(Canlyte)      Finance          EIGA210038-2   20210357     $2,589.12     2021/2/15    2021/2/15
Hubbell               Finance          EIHP211110     20210353     $469.80       2021/2/6     2021/2/6
Hubbell               Finance          EIHP210267     20210351     $991.28       2021/2/5     2021/2/5
EFS                   Open Inventory   EIEF210157     20210341     $126,561.25   2021/2/12    2021/2/12
AZZ                   Finance          EIRI210029     20210360     $53,124.81    2021/2/12    2021/2/12
Hubbell               JIT              EIHP200486     20210340     $68,656.08    2021/2/16    2021/2/16
Hubbell               JIT              EIBC210065     20210339     $45,644.13    2021/2/8     2021/2/8
Cree                  Finance          EICN210074-1   20210380     $69,722.34    2021/2/19    2021/2/19
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Cree                       Finance         EICN210074-2    20210381     $99,821.83    2021/2/19    2021/2/19
Hawthorne                  Finance         EIHA21A0284     20210361     $64,285.65    2021/2/7     2021/2/7
Hawthorne                  Finance         EIHA21A0283     20210362     $64,285.65    2021/2/7     2021/2/7
Signify(Mountain Top)      Finance         EIGA210056      20210358     $7,999.65     2021/2/11    2021/2/11
Signify(Lumec)             Finance         EILU210031      20210359     $414.18       2021/1/29    2021/1/29
EFS                        Reimbursement   EI02072021      20210812     $1,043.59     2021/2/7     2021/2/7
Cree                       Finance         EICN201206      20210367     $479.20       2021/11/24   2021/11/24
Hubbell                    JIT             EIHP210307      20210392     $1,210.32     2021/2/16    2021/2/16
Hubbell                    JIT             EIBC210064      20210391     $47,925.72    2021/2/16    2021/2/16
Hawthorne                  Finance         EIHA21A0285     20210434     $64,285.65    2021/2/15    2021/2/15
Hawthorne                  Finance         EIHA21A0286     20210441     $64,285.65    2021/2/15    2021/2/15
Hawthorne                  Finance         EIHA210281      20210483     $781.20       2021/2/22    2021/2/22
EFS                        Reimbursement   EI02252021      20210813     $1,038.18     2021/2/25    2021/2/25
EFS                        Reimbursement   EI02252021-1    20210814     $11,458.52    2021/2/25    2021/2/25
Signify(Memphis)           Finance         EIGA210318      20210438     $4,437.00     2021/2/21    2021/2/21
Signify(Memphis)           Finance         EIGA210319      20210437     $6,569.11     2021/2/26    2021/2/26
Signify(Memphis)           Finance         EIGA210055      20210436     $4,264.22     2021/2/26    2021/2/26
LSI Hamilton Lighting Systems
                          Finance          EILH210026      20210435     $113,634.74   2021/2/23    2021/2/23
Barron                     Finance         EIBA210409      20210489     $137.70       2021/1/25    2021/1/25
Hubbell                    Credit Note     EIHP201428      20210608     -$885.23      2021/3/3     2021/3/3
EFS                        Reimbursement   EI03152021      20210815     $530.45       2021/3/15    2021/3/15
EFS                        Reimbursement   EI03152021-1    20210816     $771.10       2021/3/15    2021/3/15
Hubbell                    JIT             EIHP201595-2    20210584     $2,000.00     2021/3/12    2021/3/12
AZZ                        Finance         EIRI210279      20210626     $3,779.60     2021/2/1     2021/2/1
Barron                     Credit Note     EIBA210323-1    20210754     -$31.37       2021/3/23    2021/3/23
Barron                     Credit Note     EIBA210323-2    20210755..   -$25.07       2021/3/23    2021/3/23
Barron                     Credit Note     EIBA210323-3    20210762     -$66.30       2021/3/23    2021/3/23
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Barron             Credit Note         EIBA210323-4   20210763     -$27.84         2021/3/23   2021/3/23
Hubbell            Credit Note         EIHP200260     20210764     -$142.14        2021/4/1    2021/4/1
Signify            Finance             EIGA210640     20210777     $11,572.20      2021/4/7    2021/4/7
AZZ                Credit Note         EIRI210029-1   20210780     -$21.68         2021/4/9    2021/4/9
Barron             Credit Note         EIBA210409-1   20210779     -$27.84         2021/4/9    2021/4/9
Barron             Credit Note         EIBA210413     20210782     -$20.82         2021/4/13   2021/4/13
AZZ                Credit Note         EIRI210425F    20210835..   -$41.82         2021/4/25   2021/4/25
EFS                Reimbursement       EI04292021     20210838     $2,385.71       2021/4/29   2021/4/29
Cree               Credit Note         EICN210356-1   20210908     -$575.04        2021/5/7    2021/5/7
AZZ                Credit Note         EIRI210090-1   20211375     -$39.36         2021/6/30   2021/6/30
NLS                Credit Note         EINL210418-1   20211496     -$105.09        2021/6/11   2021/6/11
NLS                Credit Note         EINL210418-2   20211498     -$8.04          2021/7/23   2021/7/23
Hubbell            Credit Note         EIHP200967                  -$351.48        2021/8/11   2021/8/11
                                                      Total:       $2,499,144.54
HD/Commercial      Inventory Repleni   EICM201611     20210013     $193,427.42     2021/1/4    2021/1/4
HD/Commercial      Inventory Repleni   EICM201671     20210006     $131,122.00     2021/1/3    2021/1/3
HD/Commercial      Inventory Repleni   EICM201642-1   20210054     $141,854.40     2021/1/5    2021/1/5
HD/Commercial      Inventory Repleni   EICM201642-2   20210055     $126,474.84     2021/1/5    2021/1/5
HD/Commercial      Inventory Repleni   EICM201617     20210130     $164,242.02     2021/1/10   2021/1/10
HD/Commercial      Inventory Repleni   EICM201670     20210163     $158,086.48     2021/1/15   2021/1/15
HD/Commercial      Credit Note         EICM201457-1   20210056     -$2,384.64      2021/1/8    2021/1/8
HD/Commercial      Credit Note         EICM201463-1   20210063     -$1,995.60      2021/1/11   2021/1/11
HD/Commercial      Inventory Repleni   EICM201610     20210108     $126,680.92     2021/1/6    2021/1/6
HD/Commercial      Inventory Repleni   EICM201612     20210128     $86,371.70      2021/1/6    2021/1/6
HD/Commercial      Inventory Repleni   EICM201618     20210127     $121,124.00     2021/1/15   2021/1/15
HD/Commercial      Inventory Repleni   EICM201615     20210185     $111,764.80     2021/1/15   2021/1/15
HD/Commercial      Inventory Repleni   EICM210101     20210186     $168,356.48     2021/1/20   2021/1/20
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HD/Commercial      Inventory Repleni   EICM201614     20210188     $92,667.68       2021/1/21   2021/1/21
HD/Commercial      Inventory Repleni   EICM210108     20210181     $129,606.94      2021/1/20   2021/1/20
HD/Commercial      Inventory Repleni   EICM210102     20210232     $87,041.60       2021/1/28   2021/1/28
HD/Commercial      Inventory Repleni   EICM210111     20210237     $140,159.94      2021/1/27   2021/1/27
HD/Commercial      Inventory Repleni   EICM210112     20210235     $129,736.58      2021/1/27   2021/1/27
HD/Commercial      Inventory Repleni   EICM210105     20210272     $159,895.16      2021/2/1    2021/2/1
HD/Commercial      Inventory Repleni   EICM210106     20210156     $156,980.92      2021/1/18   2021/1/18
HD/Commercial      Inventory Repleni   EICM210104     20210187     $160,782.58      2021/1/21   2021/1/21
HD/Commercial      Inventory Repleni   EICM210120     20210338     $134,733.00      2021/2/7    2021/2/7
HD/Commercial      Inventory Repleni   EICM210132     20210326     $142,815.20      2021/2/9    2021/2/9
HD/Commercial      Inventory Repleni   EICM210115     20210394     $126,048.70      2021/2/10   2021/2/10
HD/Commercial      Inventory Repleni   EICM210103     20210393     $122,655.80      2021/2/10   2021/2/10
HD/Commercial      Inventory Repleni   EICM201616     20210404     $115,299.16      2021/2/21   2021/2/21
HD/Commercial      Inventory Repleni   EICM210121     20210379     $115,866.56      2021/2/19   2021/2/19
HD/Commercial      Inventory Repleni   EICM210131     20210378     $158,494.12      2021/2/15   2021/2/15
HD/Commercial      Credit Note         EICM210353-1   20210797     -$224.84         2021/4/23   2021/4/23
                                                      Total:       $3,497,683.92


                                                      Sub Total:   $18,316,115.27
